               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                      CIVIL NO. 1:11-cv-00167-MR
            (CRIMINAL CASE NO. 1:09-cr-00023-MR-DLH-6)


PHILLIP EUGENE HILL,       )
                           )
              Petitioner,  )
                           )             MEMORANDUM OF
         vs.               )             DECISION AND ORDER
                           )
                           )
UNITED STATES OF AMERICA, )
                           )
              Respondent.  )
__________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. 2255 [Doc. 1], as

amended [Docs. 3, 4]; the Government’s Responses [Docs. 9, 26]; and the

Government’s Motion for Leave to File Out of Time [Doc. 27]. For the

reasons that follow, Petitioner’s amended motion to vacate is denied and

dismissed.

I.     FACTUAL BACKGROUND

        On April 7, 2009, Petitioner Phillip Eugene Hill was indicted, along

with nine co-defendants, by the Grand Jury for the Western District of North

Carolina and charged with conspiring to possess with intent to distribute 50

grams or more of cocaine base, in violation of 21 U.S.C. §§ 846 and


     Case 1:09-cr-00023-MR-WCM   Document 361   Filed 07/29/14   Page 1 of 17
841(a)(1), and with using a communication facility in committing and

facilitating the commission of the conspiracy, in violation of 21 U.S.C. §

843(b).    [Crim. Case No. 1:09-cr-00023-MR-DLH-6, Doc. 1: Indictment].

Petitioner subsequently entered into a Plea Agreement with the

Government, whereby Petitioner agreed to plead guilty to the conspiracy

offense,   and   the   Government    agreed    to   move    to    dismiss    the

communications-facility offense. [Id., Doc. 144: Plea Agreement]. In the

Plea Agreement, Petitioner acknowledged that he faced a statutory

mandatory minimum of 10 years and that if the Government filed notice of

one or more prior felony drug offenses, the statutory mandatory minimum

could increase to 20 years or life in prison. [Id. at 1].        Petitioner also

acknowledged in the Plea Agreement that the Court would ultimately

determine his sentence; that any estimate of his sentence from any source,

including defense counsel, was a prediction and not a promise; that this

Court had “the final discretion to impose any sentence up to the statutory

maximum for each count”; and that he understood that he “may not

withdraw the plea as a result of the sentence imposed.” [Id. at 2].

     With respect to the career offender sentence enhancement, Petitioner

acknowledged in the Plea Agreement that “[n]otwithstanding any

recommendations in the Plea Agreement as to the offense level,” if the


                                      2

  Case 1:09-cr-00023-MR-WCM     Document 361    Filed 07/29/14    Page 2 of 17
probation officer determined that the career-offender guideline applied,

“such provision may be used in determining the sentence.” [Id. at 3]. On

June 18, 2009, Magistrate Judge Dennis L. Howell conducted a plea

hearing and colloquy pursuant to Federal Rule of Criminal Procedure 11

and found Petitioner’s plea to have been knowingly and voluntarily entered.

[Id., Doc. 147: Acceptance and Entry of Guilty Plea].        During the plea

hearing, Petitioner acknowledged that he had reviewed the Indictment

against him, as well as the Plea Agreement, stating that he had reviewed

the Plea Agreement five times and that he understood it. [Id., Doc. 304 at

8-9: Plea Hrg. Tr.]. Petitioner reported to Judge Howell that he understood

the charge to which he was pleading guilty and that he was, in fact, guilty of

the offense. [Id. at 10; 15]. Petitioner also stated that he understood the

maximum and minimum penalties that applied to his offense, that he

understood how the Sentencing Guidelines might apply to his case, and

that he understood that if the sentence imposed was more severe than he

expected, he would “still be bound by [his] plea and have no right to

withdraw the plea of guilty.” [Id. at 11-14].

      Petitioner’s trial counsel, Derrick Bailey, also represented during the

hearing that he had reviewed each of the terms of the Plea Agreement with

Petitioner and was satisfied that Petitioner understood them.           Finally,


                                       3

  Case 1:09-cr-00023-MR-WCM      Document 361   Filed 07/29/14   Page 3 of 17
Petitioner stated that he was “entirely satisfied” with his attorney. [Id. at

18].   While Petitioner initially responded that he had not reviewed the

Sentencing Guidelines and how they might apply to his case with his

counsel, he and his counsel later clarified during the hearing that they had,

in fact, reviewed the Guidelines several times prior to the hearing. [Id. at

19-21].

       Before sentencing, the probation officer submitted a Presentence

Report (PSR), which report was subsequently revised. [Id., Docs. 214,

226, 245: PSR].       The PSR stated that Petitioner qualified as a career

offender under Sentencing Guidelines § 4B1.1 based, in part, on his prior

state court felony for the “crime of violence” of fleeing to elude arrest with a

motor vehicle, for which Petitioner received a sentence of ten to twelve

months’ imprisonment.1 [Id., Doc. 245 at 7, 12].

       In response to the various drafts of the PSR, Petitioner filed

objections, and the Government filed a response opposing Petitioner’s


1
  A defendant is a career offender under § 4B1.1(a) when the following conditions are
satisfied:

       the defendant was at least eighteen years old at the time the defendant
       committed the instant offense of conviction; (2) the instant offense of conviction
       is a felony that is either a crime of violence or a controlled substance offense;
       and (3) the defendant has at least two prior felony convictions of either a crime
       of violence or a controlled substance offense.

U.S.S.G. § 4B1.1(a). Petitioner does not challenge his second predicate conviction.

                                           4

    Case 1:09-cr-00023-MR-WCM        Document 361      Filed 07/29/14   Page 4 of 17
objections and requesting that, in the event the sentencing court should

sustain Petitioner’s objections and not treat him as a career offender, the

Court should consider departing upward on the grounds that Petitioner was

a “de facto” career offender. [Id., Doc. 263 at 3-5: Gov’t Sentencing Mem.].

Petitioner also sought before his sentencing hearing to have his trial

counsel removed, but when Judge Howell conducted a hearing to

adjudicate that motion, Petitioner withdrew his motion, stating that he

wanted to keep Mr. Bailey as his trial counsel. [Id., Doc. 307 at 2-3: Hrg.

Tr.].

        This Court conducted Petitioner’s sentencing hearing on May 21,

2010. At the commencement of the hearing, Petitioner confirmed that he

wanted to plead guilty to the drug conspiracy offense and that his answers

to Judge Howell’s questions during the plea hearing were true and correct.

[Id., Doc. 308 at 4-5: Sentencing Hrg. Tr.].        Petitioner’s trial counsel

confirmed that Petitioner understood the questions that were posed to him

during that hearing and that he was pleading guilty knowingly and

voluntarily. [Id.]. In response to this Court’s questions, Petitioner affirmed

that he had reviewed the PSR with his counsel and that he understood it,

and Mr. Bailey affirmed likewise that he had reviewed the PSR with

Petitioner and was satisfied that he understood its contents. [Id. at 7].


                                      5

   Case 1:09-cr-00023-MR-WCM     Document 361    Filed 07/29/14   Page 5 of 17
     The Court then overruled Petitioner’s objections, including those

objections as to his classification as a career offender. Based on a total

offense level of 34 and a criminal history category of VI, the Court

calculated a pre-departure Sentencing Guidelines range of imprisonment of

between 262 and 327 months. [Id. at 9; 21; 23]. The Court then granted

the Government’s motion for a downward departure under Sentencing

Guidelines § 5K1.1, resulting in an advisory Sentencing Guidelines range

of 210 to 262 months’ imprisonment based on a final offense level of 32

and a criminal history category of VI. [Id. at 24-25]. After hearing from the

parties concerning sentencing, the Court sentenced Petitioner to 210

months’ imprisonment. [Id. at 32].

     Petitioner appealed, arguing that this Court erred in finding that

Petitioner was a career offender because the Government failed to file a

notice of enhanced penalties under 21 U.S.C. § 851 and that trial counsel

was ineffective for failing to challenge the career-offender enhancement on

that basis. The Fourth Circuit affirmed this Court’s judgment on April 11,

2011, dismissing Petitioner’s appeal in part and affirming on the ineffective

assistance of counsel claim, finding that counsel’s ineffectiveness did not

conclusively appear on the face of the record. See United States v. Hill,

422 F. App’x 297 (4th Cir. 2011).


                                     6

  Case 1:09-cr-00023-MR-WCM     Document 361   Filed 07/29/14   Page 6 of 17
        Petitioner filed this present motion to vacate on July 11, 2011, and

amendments thereto on August 9, 2011 and October 17, 2011. [Docs. 1, 3,

4]. In his motion to vacate, as amended, Petitioner contends that: (1) he

should not have been designated and sentenced as a career offender in

light of the Fourth Circuit’s en banc decision in United States v. Simmons,

649 F.3d 237 (4th Cir. 2011), because his underlying conviction for “fleeing

to elude” was not punishable by more than one year in prison; (2) trial

counsel rendered ineffective assistance of counsel by failing to object to the

application of the career offender enhancement on the basis that the

Government “changed the conditions of the already entered into plea

agreement and relied on prior convictions to sentence [Petitioner] as a

career offender without notice of such”; (3) Petitioner’s advisory Guidelines

range was miscalculated because it failed to account for Petitioner’s

participation in the BRIDGE program; and (4) the Government and the

Court colluded to deceive Petitioner into pleading guilty on terms that were

different from what he understood the terms to be when he entered his

guilty plea.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions


                                       7

      Case 1:09-cr-00023-MR-WCM   Document 361   Filed 07/29/14   Page 7 of 17
to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

this matter can be resolved without an evidentiary hearing. See Raines v.

United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         A.    Petitioner’s Simmons Claim

         In Simmons, the Fourth Circuit Court of Appeals in an en banc

decision held that in order for a prior North Carolina conviction to serve as

a predicate felony offense, the individual defendant must have been

convicted of an offense for which that individual defendant could be

sentenced to a term exceeding one year. Simmons, 649 F.3d at 243. In so

ruling, the Fourth Circuit overturned its earlier decisions in United States v.

Jones, 195 F.3d 205 (4th Cir. 1999), and United States v. Harp, 406 F.3d

242 (4th Cir. 2005), in which the Fourth Circuit had held that an offense is

punishable by more than one year in prison as long as any defendant could

receive a term of imprisonment of more than one year upon conviction for

that offense. Simmons, 649 F.3d at 237. The Fourth Circuit subsequently

held that Simmons is retroactive to cases on collateral review. See Miller v.

United States, 735 F.3d 141 (4th Cir. 2013). Under the Fourth Circuit’s


                                        8

       Case 1:09-cr-00023-MR-WCM   Document 361   Filed 07/29/14   Page 8 of 17
decision in Simmons, then, a prior conviction only qualifies as a “felony” if

the petitioner could have received a sentence of more than one year under

North Carolina’s Structured Sentencing Act. See Simmons, 649 F.3d at

247.

       In his motion to vacate, Petitioner contends that his prior conviction of

fleeing to elude is not a felony for purposes of his designation as a career

offender because Petitioner could not have received a sentence of more

than one year in prison for that conviction. The Government concedes that

the prior conviction for fleeing to elude does not qualify as a predicate

felony for purposes of the career-offender enhancement under Sentencing

Guidelines § 4B1.1. The Government argues, however, that Petitioner is

not entitled to Simmons relief because he explicitly waived his right to

challenge his sentence in a post-conviction proceeding in his plea

agreement.

       An appellate waiver is enforceable as long as the defendant waives

this right knowingly and voluntarily. See United States v. Lemaster, 403

F.3d 216, 220 (4th Cir. 2005) (“A criminal defendant may waive his right to

attack his conviction and sentence collaterally, so long as the waiver is

knowing and voluntary.”); see also United States v. Copeland, 707 F.3d

522, 529-30 (4th Cir. 2013) (dismissing appeal of defendant challenging


                                       9

  Case 1:09-cr-00023-MR-WCM       Document 361    Filed 07/29/14   Page 9 of 17
sentencing enhancement in light of Simmons because defendant waived

his right to appeal his sentence in his plea agreement); United States v.

Snead, No. 11-5100, 2012 WL 541755 (4th Cir. Nov. 7, 2012) (unpublished)

(same).

       Here, Petitioner does not allege in his motion that his plea was either

unknowing or involuntary, nor could he, as the Rule 11 colloquy establishes

that he pled guilty understanding the charge to which he was pleading

guilty as well as the consequences of his plea, including his waiver of his

right to challenge his sentence in a post-conviction proceeding.                Thus,

Petitioner is not entitled to Simmons relief.2

       B.    Petitioner’s Remaining Claims

             1.     Ineffective Assistance of Counsel

       The Sixth Amendment to the U.S. Constitution guarantees that in all

criminal prosecutions, the accused has the right to the assistance of

counsel for his defense. See U.S. CONST. amend. VI. To show ineffective

assistance of counsel, Petitioner must first establish a deficient


2
  The Government also contends that Petitioner’s Simmons claim is procedurally barred
because Petitioner failed to argue a Simmons claim at trial or on appeal and because
Petitioner cannot show that he is actually innocent of the fleeing-to-elude offense for
which he was convicted. The Government further contends that Petitioner has not
argued or shown either cause-and-prejudice or actual innocence to overcome the
procedural bar. Because the Court concludes that Petitioner’s claim is barred by his
appellate waiver, the Court need not reach these arguments.


                                          10

    Case 1:09-cr-00023-MR-WCM      Document 361      Filed 07/29/14   Page 10 of 17
performance by counsel and, second, that the deficient performance

prejudiced him.     See Strickland v. Washington, 466 U.S. 668, 687-88

(1984). In making this determination, there is “a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. at 689; see also United States v. Luck, 611 F.3d 183, 186

(4th Cir. 2010). Furthermore, in considering the prejudice prong of the

analysis, the Court “can only grant relief under . . . Strickland if the ‘result of

the proceeding was fundamentally unfair or unreliable.’” Sexton v. French,

163 F.3d 874, 882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S.

364, 369 (1993)). Under these circumstances, the petitioner “bears the

burden of affirmatively proving prejudice.” Bowie v. Branker, 512 F.3d 112,

120 (4th Cir. 2008). If the petitioner fails to meet this burden, a “reviewing

court need not even consider the performance prong.” United States v.

Rhynes, 196 F.3d 207, 232 (4th Cir. 1999), opinion vacated on other

grounds, 218 F.3d 310 (4th Cir. 2000).

      To the extent that Petitioner argues that trial counsel provided

constitutionally deficient representation by failing to argue that his prior

fleeing-to-elude conviction was an inadequate predicate to support the

enhancement of his sentence under 21 U.S.C. § 841(b)(1)(B), Petitioner’s

claim fails because Petitioner’s case concluded well before Simmons was


                                        11

  Case 1:09-cr-00023-MR-WCM       Document 361    Filed 07/29/14   Page 11 of 17
decided. Specifically, Petitioner entered into his guilty plea in June 2009,

more than two years before Simmons was decided, and Petitioner was

sentenced in May 2010, over a year before Simmons was decided and just

the month before the Supreme Court issued its decision in Carachuri-

Rosendo v. Holder, 560 U.S. 563 (2010), upon which Simmons was based.

“[A]n attorney’s failure to anticipate a new rule of law [is] not constitutionally

deficient.” United States v. McNamara, 74 F.3d 514, 516 (4th Cir. 1996).

      Likewise, to the extent that Petitioner purports to bring an ineffective

assistance claim against appellate counsel, this claim also fails. Appellate

counsel filed Petitioner’s appellate brief on December 28, 2010, several

weeks after the initial panel that ruled unanimously in the Government’s

favor heard oral argument in Simmons. At that time, it was not at all clear

that Simmons would result in the overruling of the Fourth Circuit’s decisions

in Jones and Harp. Here, counsel may have failed to predict the change in

the law that Simmons would affect, but this does not constitute

constitutionally deficient representation. See id.

      Petitioner further asserts that trial counsel provided constitutionally

deficient representation by failing to object to the application of the career-

offender enhancement on the basis that the Government “changed the

conditions of the already entered into plea agreement and relied on prior


                                       12

  Case 1:09-cr-00023-MR-WCM      Document 361     Filed 07/29/14   Page 12 of 17
convictions to sentence [Petitioner] as a career offender without notice of

such.” [Doc. 1 at 14]. Petitioner also asserts that trial counsel failed to

discuss either the career-offender enhancement or the Sentencing

Guidelines with him.

       In support of his claims, Petitioner submits a letter from trial counsel

to Petitioner dated May 19, 2010. [Doc. 1-1]. Petitioner contends that

counsel admits in this letter that he never discussed the Guidelines or the

career offender enhancement with Petitioner.

       Petitioner’s claim fails, first, because the record in this case

establishes that trial counsel did, in fact, discuss the Sentencing Guidelines

with Petitioner, as Petitioner affirmed during his plea hearing and again

during his sentencing hearing.      The possible application of the career

offender enhancement was explicitly addressed in Petitioner’s Plea

Agreement, which he represented to this Court that he had reviewed and

understood. As for the May 19, 2010 letter from trial counsel, nowhere in

that letter does trial counsel admit that he failed to discuss the Guidelines

or the career offender enhancement with Petitioner. To the contrary, Mr.

Bailey states in the letter that he met with Petitioner fifteen times and

reviewed both the plea agreement and the PSR during several of those

visits. [Id.].


                                      13

  Case 1:09-cr-00023-MR-WCM      Document 361   Filed 07/29/14   Page 13 of 17
     Further, Petitioner’s argument that counsel failed to challenge the

Government’s alleged breach of the Plea Agreement in seeking the career

offender enhancement is without merit.       The Plea Agreement explicitly

provided that if Petitioner qualified as a career offender, the enhancement

would apply. As such, there was simply no breach of the Plea Agreement

for counsel to challenge.

     Finally, Petitioner’s argument that counsel failed to object to the

application of the enhancement based on the Government’s failure to

provide advanced notice of Petitioner’s qualifying convictions under 21

U.S.C. § 851 must be rejected. Section 851 applies when the Government

intends to seek enhanced penalties under the Controlled Substances Act,

21 U.S.C. § 841, not the career offender guideline. Although Petitioner

states in his motion to vacate that the Government was required by the

terms of the Plea Agreement to file advance notice of his convictions, the

Plea Agreement does not so provide.

     In sum, Petitioner has shown neither deficient representation nor a

reasonable probability his sentence would have been lower if trial counsel

had objected to the career offender enhancement on the bases Petitioner

suggests. This claim must be rejected.

     2.    Sentencing Miscalculation Claim


                                    14

  Case 1:09-cr-00023-MR-WCM   Document 361     Filed 07/29/14   Page 14 of 17
      Petitioner next argues that his advisory guidelines range was

miscalculated because it failed to account for his participation in the

BRIDGE program.           Petitioner, however, explicitly waived his right to

challenge his sentence in a post-conviction proceeding in his Plea

Agreement, and such a waiver is enforceable as long as the defendant

waives this right knowingly and voluntarily, which Petitioner did. Thus, this

claim is without merit.

      3.    Claims Alleging Judicial and Prosecutorial Misconduct

      Finally, Petitioner asserts claims of judicial and prosecutorial

misconduct, asserting that the Government and this Court colluded to

deceive him into pleading guilty on terms different than he understood at

the time he entered his guilty plea.          The record belies Petitioner’s

argument. Judge Howell asked clear questions of Petitioner during his

Rule 11 hearing, and Petitioner responded with clear answers. Although

Petitioner complains that he should have received a reduction in his

offense level based on his role in the offense, the Government did not

agree to any such reduction in his plea agreement and, as set forth above,

the Plea Agreement plainly contemplated the possibility that Petitioner was

a career offender and would receive that enhancement. [Crim. No. 1:09-cr-

00023-MR-DLH-6, Doc. 144 at 2-3].


                                       15

  Case 1:09-cr-00023-MR-WCM       Document 361   Filed 07/29/14   Page 15 of 17
IV.   CONCLUSION

      In sum, for the reasons stated herein, Petitioner’s motion to vacate,

as amended, will be denied.

      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, this Court declines to issue a certificate of

appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S.

322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that the dispositive procedural

ruling is debatable and that the petition states a debatable claim of the

denial of a constitutional right). Petitioner has failed to make the required

showing.



                                 ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1], as amended [Docs. 3, 4], is DENIED.




                                     16

  Case 1:09-cr-00023-MR-WCM    Document 361     Filed 07/29/14   Page 16 of 17
        IT IS FURTHER ORDERED that the Government’s Motion for Leave

to File Its Response One Day Out of Time [Doc. 27] is GRANTED nunc pro

tunc.

        IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

        IT IS SO ORDERED.
                                Signed: July 29, 2014




                                         17

  Case 1:09-cr-00023-MR-WCM      Document 361           Filed 07/29/14   Page 17 of 17
